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                           Attorneys fbr Ddcndunt
                     7     Bitmain Tedmologics. Ltd.

                     8
                     9                                        UNITED STATES DISTRICT COURT

                    10                                     NORTHERN DISTRICT OF CALIFORNIA

                    11                                               SAN FRANCISCO DIVISION

                    12
                           GOR GEVORKYAN. on behalf ofhimsclfaml                  Case No. 3: I8-cv-07004-JD
                    13
                           all others similarly situated.
                                                                                  Judge: Hon. James Donato
                    14
                                                        Plaintiff.

                                     V.                                           STIPULATED DISMISSAL WITH
                                                                                  PREJUDICE
                    16
                           BITMAIN TECHNOLOGIES. LTD., and
                    17     DOES I to 10.

                                                        Defendants.               Trial Date: March I I, 2024
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                             WHEREAS. on Novernbcr 19. 2018. plaintiff Gor Gevorkyan (''Plaintiff") com111enccd

               2    this action against defendants llitmain Technologies. Ltd. ('·Bitmain"') and Bitmain. In<.:.:

               3             WHEREAS. on February 14. 2019. Plaintiff dismissed his claims against Bitmain. Inc.:

               4             WHEREAS. all parties to the abow-captioncd action have agreed that this action shall be

               5    dismissed with prejudice: and
               6             NOW, THEREFORF., TIIE PARTIES HEREBY STIPllLATE, THROllGH THEIR

               7    RESPECTIVE COUNSEL OF RECORD, AND AGREF. AS FOLLOWS:

               8              I. Pursuant to Federal Rule of Civil Procedure 4 l(a){ I)(A)(ii). plaintilf Gnr Gevorkyan

               9                  hereby dismisses with prejudice all his claims against Ilitmain in th<.: [lbnvc-captioncd

              IO                 action.

              II             2. Each party shall bear it" own attorneys· fees and costs.

              12
                    DATED: _February
                             __      23             . 2023             (YMELVENY & MYERS l.l .P
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              15                                                       c~
                                                                       William K. Pao
              16                                                       O'MELVENY & MYERS I.LP
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             21                                                        Adam Rose
                                                                       Karo Karapetyan
             22                                                        Manny Starr

             23                                                        C'ounsel.fhr P/aintifrCior Cie1'1Jrkya11

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                    Dated: February 23            . 2023               Pomerantz LI .P
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             27                                                        Ari Y. Bas.-;er              ·
                                                                       Jordan L. Lurie
             28                                                        Co1111sefji1r !'laintif/'CJor Ciewirk1•a11
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                          ·'                                              Christopher Marlborough
                          4                                               Counsel.for Plainl(/JGor Ge

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                                                                          CERTIFICATE OF SERVICE
.I                             2             The undersigned herehy ce1tifies that u true and accurate copy of the foregoing was served
     '
     i.                        3                                                                         __ day or Feb
                                    upon all counsel of record via the Court's CM/ECF Filing System this 24        ____ . 20D.

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                                                                                    Isl Sherin Parikh
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